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      Attorneys for Plaintiff Bryant Patton, individually and on behalf of
   11 all others similarly situated
   12 (Counsel Continued on Next Page)
   13
                            UNITED STATES DISTRICT COURT
   14
                          CENTRAL DISTRICT OF CALIFORNIA
   15
   16 BRYANT PATTON, individually, and on Case No. 2:19-cv-08580-JFW-MAA
   17 behalf of all others similarly situated, CLASS ACTION
   18                      Plaintiff,          [Assigned for all purposes to the Hon.
   19                                          John F. Walter, Courtroom 7A]
      v.
   20                                          JOINT REPORT RE RESULTS OF
   21 MIDWEST      CONSTRUCTION                SETTLEMENT CONFERENCE
      SERVICES, INC. dba TRILLIUM
   22 CONSTRUCTION/DRIVERS, a
                                               Date Action Filed:      April 14, 2019
      California corporation; and DOES 1       Date Removal   Filed:    October 4, 2019
   23
      through 100, inclusive,                  Date FAC Filed:       December 11, 2019
   24
                           Defendant.
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                                                 1
                                   JOINT REPORT RE MEDIATION
Case 2:19-cv-08580-JFW-MAA Document 32 Filed 06/04/20 Page 2 of 5 Page ID #:487



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    7 Attorneys for Defendant Midwest Construction Services, Inc.
      dba Trillium Construction/Drivers
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                    JOINT REPORT RE RESULTS OF SETTLEMENT CONFERENCE
Case 2:19-cv-08580-JFW-MAA Document 32 Filed 06/04/20 Page 3 of 5 Page ID #:488



    1          Plaintiff BRYANT PATTON (“Plaintiff”), on behalf of himself and all
    2 others     similarly   situated,   and   Defendant   MIDWEST     CONSTRUCTION
    3 SERVICES, INC. dba TRILLIUM CONSTRUCTION/DRIVERS (“Defendant”)
    4 (collectively referred to as “the Parties”), hereby submit the following Joint Report
    5 Regarding Results of Settlement Conference, pursuant to this Court’s October 31,
    6 2019 Order.
    7          As ordered by the Court, on May 27, 2020, and via Zoom videoconference,
    8 the Parties engaged in private mediation with mediator, Tripper Ortman, Esq., of
    9 Ortman Mediation. The Parties were unable to reach a settlement of this action at
   10 the conclusion of the mediation.
   11          The Parties will continue to work with Mr. Ortman to discuss potential
   12 settlement while this action is stayed pending the Ninth Circuit’s decision in the
   13 consolidated challenge to the Federal Motor Carrier Safety Administration’s
   14 preemption decision (Intl Brotherhood of Teamsters, et al. v. FMCSA, Case
   15 Number 18-73488; IBT, et al. v. FMCSA, Case Number 19-70323; Labor
   16 Commissioner State of CA v. FMCSA, Case Number 19-70329; Duy Ly, et al. v.
   17 FMCSA, Case Number 19-70413).
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                      JOINT REPORT RE RESULTS OF SETTLEMENT CONFERENCE
Case 2:19-cv-08580-JFW-MAA Document 32 Filed 06/04/20 Page 4 of 5 Page ID #:489



    1 Dated: June 4, 2020                 MARLIN & SALTZMAN, LLP
    2                                     TOJARIEH LAW FIRM, PC

    3
    4                                     By:    /s/ Tatiana G. Avakian
                                                 Stanley D. Saltzman, Esq.
    5                                            Tatiana G. Avakian, Esq.
    6                                            Attorneys for Plaintiff and the
                                                 Class
    7
    8
        Dated: June 4, 2020               MEDINA MCKELVEY LLP
    9
   10                                     By:    /s/ Timothy B. Nelson
                                                 Brandon R. McKelvey, Esq.
   11
                                                 Allison S. Hyatt, Esq.
   12                                            Timothy B. Nelson, Esq.
                                                 Attorneys for Defendant
   13                                            MIDWEST CONSTRUCTION
   14                                            SERVICES, INC. dba TRILLIUM
                                                 CONSTRUCTION/DRIVERS
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                     JOINT REPORT RE RESULTS OF SETTLEMENT CONFERENCE
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    1                           SIGNATURE CERTIFICATION
    2         Pursuant to Local Rule 5-4.3.4, I, Tatiana G. Avakian, hereby attest that all
    3 other signatories to this Joint Report, and on whose behalf it is submitted, concur
    4 in its content and have authorized its filing.
    5
    6 Dated: June 4, 2020                      MARLIN & SALTZMAN, LLP
                                               TOJARIEH LAW FIRM, PC
    7
    8
                                               By:     /s/ Tatiana G. Avakian
    9                                                  Stanley D. Saltzman, Esq.
   10                                                  Tatiana G. Avakian, Esq.
                                                       Attorneys for Plaintiff and the
   11                                                  Class
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                      JOINT REPORT RE RESULTS OF SETTLEMENT CONFERENCE
